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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
  ________________________________________
                                           )
  Federal Trade Commission, et al.,        )
                                           )
                                           )
                     Plaintiffs,           )
                                           )
           v.                              ) Civ. Action 2:17-cv-00228-PAM-MRM
                                           )
  Vylah Tec, LLC, et al.,                  )
                                           )
                     Defendants.           )
  ________________________________________ )

                DEFENDANTS’ UNOPPOSED MOTION
              FOR LEAVE TO FILE OMNIBUS SUR-REPLY
      WITH RESPECT TO THE RECEIVER’S APPLICATIONS FOR FEES

        Defendants seek this Court’s leave to file a single, omnibus Sur-Reply brief to

  address in a single filing the new arguments raised in Plaintiffs’ Response to

  Defendants’ Objection to the Report & Recommendation Regarding the Receiver’s

  Fees, ECF No. 427, Plaintiffs’ Response to Defendants’ Opposition to the Receiver’s

  Third Application, ECF No. 422, and the Receiver’s anticipated Reply brief on his

  Third Application for Fees. The Plaintiff’s Responses, see ECF Nos. 422 and 427, and

  the Receiver’s description of his forthcoming Reply brief, see ECF No. 426 (motion for

  leave to file Reply), both raise new arguments about, inter alia, sovereign immunity

  and this Court’s Permanent Injunction and Judgment in a Civil Case which have not

  been briefed in adversarial fashion in this case, either on the merits or on this fee

  dispute.
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        Counsel for the parties and the Receiver have electronically met and conferred

  about this Motion for Leave and about Defendants’ suggestion of filing a single

  omnibus Sur-Reply brief, not to exceed 12 pages, to be due Tuesday, July 23, 2019,

  two business days after the Receiver’s Reply brief is due. See ECF No. 428 (granting

  leave to file Reply on Friday, July 19, 2019). Counsel for Plaintiffs and the Receiver

  do not oppose this Motion for Leave.


        Defendants respectfully suggest that a single, omnibus Sur-Reply, not to

  exceed 12 pages, to be filed July 23, 2019, will most efficiently complete the briefing

  of the Receiver’s outstanding fee applications, i.e., his Renewed Application (now

  before Judge Magnuson) and his Third Application for Fees (now before Mag. J.

  McCoy). Barring unforeseen developments, briefing would then be complete on the

  Receiver’s various applications for fees, but for Objections and Responses to any

  forthcoming R&R by Magistrate Judge McCoy on the Receiver’s Third Application.


  Dated: July 15, 2019                        Respectfully submitted,


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                                  Certificate of Service

  I, Michael R. Geske, do hereby certify that the foregoing DEFENDANTS’
  UNOPPOSED MOTION FOR LEAVE TO FILE OMNIBUS SUR-REPLY WITH
  RESPECT TO THE RECEIVER’S APPLICATIONS FOR FEES was electronically
  filed by me on July 15, 2019 through the CM/ECF electronic filing system of the
  United States District Court for the Middle District of Florida and was thereby served
  electronically upon all counsel of record in this case. I have also sent two courtesy
  copies to the Hon. Paul A. Magnuson’s chambers in St. Paul, Minnesota for delivery
  on Tuesday morning, July 16, 2019.
